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  9
 10                         UNITED STATES DISTRICT COURT
 11                FOR THE CENTRAL DISTRICT OF CALIFORNIA
 12                                 WESTERN DIVISION
 13   PATAGONIA, INC. and                         Case No. 2:19-cv-02702-CJC-MAA
      PATAGONIA PROVISIONS, INC.,
 14                                               PROOF OF SERVICE OF
                   Plaintiffs,                    SUMMONS AND COMPLAINT
 15
            v.
 16                                               Complaint Filed: April 9, 2019
      ANHEUSER-BUSCH, LLC dba
 17   PATAGONIA BREWING CO.,
 18                Defendant.
 19
                                     PROOF OF SERVICE
 20
 21         I hereby certify and declare under penalty of perjury that the following
 22   statements are true and correct:
 23         I am over the age of 18 years and am not a party to the within cause. My
 24   business address is Two Embarcadero Center, Suite 1900, San Francisco, California
 25   94111.
 26         I certify that pursuant to agreement of the parties, Defendant accepted service
 27   of the Summons and Complaint effective May 7, 2019, making the deadline to
 28   respond May 28, 2019.

      PROOF OF SERVICE OF SUMMONS AND COMPLAINT                                    -1-
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  1         EXECUTED May 7, 2019, at San Francisco, California.
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  4                                               Victoria E. Hopper
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      PROOF OF SERVICE OF SUMMONS AND COMPLAINT                            -2-
      CASE NO. 2:19-CV-02702-CJC-MAA
